                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )       NO. 3:12-00076
                                                     )       JUDGE CAMPBELL
JASON POWELL                                         )

                                             ORDER

       Pending before the Court is Jason Powell’s Motion To Change Time Of Plea Hearing

(Docket No. 312). Through the Motion, the Defendant requests that the hearing set for March

24, 2014, at 3:00 p.m., be reset to 1:00 or 2:00 p.m. because counsel has child care obligations at

3:00 p.m.

       The Motion is GRANTED as follows: The Court set the hearing for 3:00 p.m. because

counsel indicated that she needed more time to submit the plea agreement to the Court. If

counsel submits the plea agreement in advance of 1:00 p.m., the Court will hold the hearing at

1:00 p.m.

       It is so ORDERED.

                                                     ____________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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